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Attorneys for Plaintiffs and Petitioners

The Upper Deck Company and Richard P. McWilliam
UNITED STATES DISTRICT COURT

SOUTHERN DISTRICT OF CALIFORNIA

THE UPPER DECK COMPANY, a California
corporation, and

RICHARD P. MCWILLIAM, individually, and
as Trustee for the MPR Trust,

Plaintiffs.
v.
AMERICAN INTERNATIONAL SPECIALTY
LINES INSURANCE COMPANY and DOES 1
through 10, inclusive,

Defendants.

 

 

 

CASE NO. 05 CV 1945 IEG (RBB)

PLAINTIFF’S APPENDIX OF EXHIBITS IN
SUPPORT OF M()TION TO VACATE
ARBITRATION AWARD

DATE: May 29, 2007
TIME: 10:30 a.m.
CTROOM: 1

Plaintiff THE UPPER DECK COMPANY, submits the attached appendix of exhibits in

support of its Motion to Vacate Arbitration Award.

Dated: April 9, 2007

RUTAN & TUCKER, LLP

RICHARD K. HOWELL
DUKE .

    

Duke F. Wahlquist

Attorneys for Plaintiffs an .,Petitioners
The Upper Deck Compan and Richard P.
McWilliam

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APPENDIX OF EXHIBlTS IN SUPPORT OF MOTION TO VACATE
ARBITRATION AWARD

 

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